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ATTORNEY FOR DEBTOR(S)

                              IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE NORTHERN DISTRICT OF TEXAS
                                          DALLAS DIVISION

IN RE:                                                   §         CASE NO. 18-30380-HDH-13
     Zulma Consuelo Pineda                               §
          Debtor                                         §         :

     DEBTOR’S RESPONSE TO TRUSTEE’S RECOMMENDATION CONCERNING CLAIMS


TO THE HONORABLE UNITED STATES BANKRUPTCY JUDGE:

      COMES NOW, Zulma Consuelo Pineda (singularly or collectively "Debtor") hereby

responds to the Motion to Dismiss Case with Prejudice as follows:

1.    Debtor does not believe that the facts justify a dismissal with prejudice..

3.    Debtor has filed a Motion to Reinstate her case.

                                                     PRAYER

      WHEREFORE, Debtor prays for such further relief as is just.

Dated: May 2, 2018
                                         /s/ Lawrence Herrera
                                         Lawrence Herrera
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